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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 16-81573-CIV-MARRA


  JAMES MEARS,

        Plaintiff,

  vs.

  YOATRIUM, LLC,

        Defendant.

  __________________________________/

   ORDER APPROVING CONSENT DECREE AND DISMISSAL OF DEFENDANT
                        WITH PREJUDICE

        THIS CAUSE is before the Court on the Parties’ Joint Stipulation to

  Approve Consent Decree and Dismiss Defendant with Prejudice (DE 11). The

  Court has carefully considered the joint stipulation and the Consent Decree

  attached to the Joint Stipulation as Exhibit “1”, and is otherwise fully advised

  in this matter.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

        1.     The Joint Stipulation to Approve Consent Decree and Dismiss

  Defendant with Prejudice (DE 11) is hereby GRANTED.

        2.     The Court hereby APPROVES the Consent Decree, and Defendant

  YOATRIUM, LLC is hereby DISMISSED WITH PREJUDICE.

        3.     The Court Retains jurisdiction to enforce the Consent Decree.

        4.     Each party to bear their own attorney’s fees and costs except as

  detailed in the parties’ Consent Decree.
                                             1
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        5.    All pending motions are hereby denied as moot.

        6.    This case is CLOSED.


        DONE AND SIGNED in Chambers, at West Palm Beach, Palm Beach

  County, Florida this 2nd day of November, 2016.




                                                    KENNETH A. MARRA
                                                    United States District Judge




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